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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 ___________________________________________
 IRVIN FOLLY                                :  JURY TRIAL DEMANDED
 6226 N WOODSTOCK STREET                    :
 PHILADELPHIA, PA. 19138                    :
                                            :
             V.                             :  CIVIL ACTION
 CITY OF PHILADELPHIA                       :
 C/O LAW DEPARTMENT                         :
 ONE PARKWAY                                :
 1515 ARCH STREET, 15TH FLOOR               :
 PHILADELPHIA, PA. 19102                    :
            AND                           :
POLICE OFFICER JOHN DOES #1-99            :
C/O LAW DEPARTMENT                        :
ONE PARKWAY                               :
1515 ARCH STREET, 15TH FLOOR              :
PHILADELPHIA, PA. 19102                   :
_________________________________________ :

                                 CIVIL ACTION COMPLAINT

                                 I.JURISDICTION AND VENUE

       1.     The court has jurisdiction over the Federal Law Claims pursuant to 28 U.S.C. 1331

and 1343.

       2.     Venue is proper under 28 U.S.C. 1391(b) because all of the causes of action upon

which the complaint is based arose in City and County of Philadelphia, Commonwealth of

Pennsylvania, which is in the Eastern District of Pennsylvania.



                                            II.PARTIES



       3.      Plaintiff, Irvin Folly is an adult citizen of Pennsylvania, residing as captioned, and

his birthday is September 8, 1978.
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       4.      Defendant, City of Philadelphia, is a City of the first class, organized and existing

pursuant to the laws of the Commonwealth of Pennsylvania with principal offices located as

captioned.

       5.       Defendant, Police Officers John Does #1-99, were at all material times police

officers in the City of Philadelphia Police Department, acting under the color of law and in the

course and scope of their employment, and are being sued in both their official and individual

capacities.

                                      III.OPERATIVE FACTS

       6.       On or about July 25, 2006, at approximately 9:00 p.m., the Plaintiff, Irvin Folly

was playing in a recreational basketball league at a City of Philadelphia playground located at

33rd and Diamond Street when he heard shots fired at the playground.

       7.       Approximately 5-6 minutes after the shots were fired, Plaintiff Irvin Folly observed

Philadelphia police cars arrive at the Playground and observed Philadelphia police officers

punching, kicking and slamming young African-American males, who were present at the

playground at the time of the shooting, into cars at the playground.

       8.       Upon observing this violent behavior by the City of Philadelphia police officers

and being in fear of being assaulted by the police officers, Plaintiff Irvin Folly rode a bicycle from

33rd and Diamond Streets toward Ridge Avenue and Daughin Streets.

       9.       As Plaintiff Irvin Folly was riding toward Ridge Avenue and Dauphin Streests, he

was being pursued by two Philadelphia patrol vehicles.

       10.      Plaintiff Irvin Folly stopped riding his bicycle upon the approach of the patrol

vehicles and put his hands in the air at which time one of the police officers asked,” What are you

runnin’ for bitch.”
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        11.     In reply, Irvin Folly told the police officer that he was “scared.”

        12.     While following the commands of the police officer to show him his hands, the

police officer punched Plaintiff Irvin Folly in the jaw causing him to fall to the ground at which

time Plaintiff Irvin Folly was kicked in the ribs and hand-cuffed.

        13.     While hand-cuffed an on the ground, another police officer kicked Plaintiff Irvin

Folly in the nose.

        14.     A police officer then picked Plaintiff Irvin Folly up from the ground by his shorts

and slammed him face first into a patrol car.

        15.     Plaintiff Irvin Folly was transported by a patrol wagon to the police district where

he was detained for 2 to 3 hours.

        16.     When the police determined that Plaintiff had no outstanding arrest warrants,

Plaintiff was transported to the Saint Joseph’s Hospital for medical treatment.

        17.     As a result of being repeatedly beaten in the face, head and body, the Plaintiff

sustained the following injuries: fractured nose, multiple abrasions, bruised ribs, and contusions of

the left shoulder.

        18.     Irvin Folly did not violate any criminal statutes of the Commonwealth of

Pennsylvania on July 25, 2006, he was not charged with any crimes, and after being transported

by police officers from the emergency room at St. Joseph’s Hospital, he was told he was free to

leave the hospital and was not being charged with any crime.

        19.     Defendants were aware that police officers in Philadelphia County, and

specifically the above named police officers, engaged in unconstitutional conduct and they

acquiesced in such unconstitutional conduct.

        20.     Defendants maintained a policy and/or custom of allowing Philadelphia police
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officers, and specifically the above named police officers, to use unreasonable force against the

citizens of Pennsylvania.

       21.     As the direct and proximate result of the City of Philadelphia Police Department

and the City of Philadelphia’s unconstitutional custom or policy, the Plaintiff's constitutional

rights were violated and he was severely injured.

       22.     As the proximate result of using unreasonable force against the Plaintiff, Defendant

Police Officers John Does #1-99, violated of his rights under the Fourth and Fourteenth

Amendments of the United States Constitution.

       23.     As the proximate result of using unreasonable force against the Plaintiff, Defendant

Police Officers John Does #1-99, caused the Plaintiff to suffer extreme physical harm, emotional

harm and economic loss.

                         COUNT I - 42 U.S.C. Sections 1983, AND 1988
                                    UNREASONABLE FORCE
                     Irvin Folly v. Police Officers John Does John Does #1-99


       24.     Paragraphs 1 through 23 are incorporated herein by reference, as though each

were fully set forth herein at length.

       25.     As aforesaid, defendants, Police Officers John Does #1-99, acting within the

course and scope of their employment, under the color of state law, and pursuant to the customs,

policies, and practices of the City of Philadelphia Police Department; deprived plaintiff of his

rights, privileges and immunities under the Laws and Constitutions of the United States; in

particular, the right to be free from the excessive or unreasonable use of force by an officer; which

violated the plaintiff's rights under the Fourth and Fourteenth Amendments to the Constitution of

the United States.
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          26.     As aforesaid, defendants, Police Officers John Does #1-99, acting within the

course and scope of their employment, under the Color of State Law, and pursuant to the customs,

policies and practices of the City of Philadelphia Police Department and City of Philadelphia,

intentionally and maliciously assaulted and battered plaintiff, Irvin Folly, and placed him in fear

of imminent bodily harm without just cause or provocation, all of which actions violated the

plaintiff's rights under the Fourth and Fourteenth Amendments to the Constitution of the United

States.

          27.     As aforesaid, defendants, Police Officers John Does #1-99, acting within the

course and scope of their employment, under the Color of State law, and pursuant to the customs,

policies and practices of the City of Philadelphia Police Department and defendant, City of

Philadelphia, intentionally and maliciously assaulted and battered, plaintiff, Irvin Folly and used

their positions of authority, illegally and improperly to punish the plaintiff, by the above described

actions, all of which actions violated the plaintiff's rights under the Fourth and Fourteenth

Amendments to the Constitution of the United States.

          28.     As a direct and proximate result of the malicious, intentional and reckless actions

of the defendants, Police Officers John Does #1-99, the plaintiff, Irvin Folly suffered injuries

which are described above.

          29.     The above described actions of the defendants, Police Officers John Does #1-99, in

their individual capacities, were so malicious, intentional and reckless and displayed such a

reckless indifference to the plaintiff's rights and well-being, that the imposition of punitive

damages is warranted.

          WHEREFORE, pursuant to 42 U.S.C. Section 1983, and Section 1988, plaintiff, Irvin

Folly, demands compensatory damages against defendants, Police Officers John Does #1-99,
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jointly and/or severally, and punitive damages against defendants, Police Officers John Does

#1-99, in their individual capacity, in an amount in excess of One Hundred Thousand

($100,000.00) Dollars, plus interest, costs, attorney's fees and delay damages.

                     COUNT II - 42 U.S.C. Section 1983 AND Section 1988 and
                       FALSE ARREST AND FALSE IMPRISONMENT
                        Irvin Folly VS. Police Officers John Does #1-99

        30.     Paragraphs 1 through 29 are incorporated herein by reference, as though each were

fully set forth herein at length.

        31.     As aforesaid, Defendants Police Officers John Does #1-99, acting within the

course and scope of their employment, under the color of state law, and pursuant to the customs,

policies, and practices of the City of Philadelphia Police Department; deprived plaintiff of his

rights, privileges and immunities under the Laws and Constitutions of the United States; in

particular, the right to be free from false arrest and false imprisonment by an officer; which

violated the plaintiff's rights under the Fourth and Fourteenth Amendments to the Constitution of

the United States.

        32.     As aforesaid, defendants, Police Officers John Does #1-99, acting within the

course and scope of their employment, under the Color of State law, and pursuant to the customs,

policies and practices of the defendant, City of Philadelphia, intentionally and maliciously

arrested, imprisoned, detained, humiliated, and insulted, plaintiff, Irvin Folly, and used their

position of authority, illegally and improperly to punish the plaintiff, by the above described

actions, all of which actions violated the plaintiff's rights under the Fourth and Fourteenth

Amendments to the Constitution of the United States.

        33.      Defendants Police Officers John Does #1-99 conduct in causing the Plaintiff to be

falsely arrested and imprisoned on the aforementioned occasions was the proximate cause of
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Plaintiff’s damages, including, but not limited to, physical injury, emotional damage, and

economic damage.

        WHEREFORE, plaintiff, Irvin Folly, demands compensatory and punitive damages

against defendants, Police Officers John Does #1-99, for violating his Fourth and Fourteenth

Amendment right to be free from false arrest and false imprisonment in an amount in excess of

One Hundred Thousand ($100,000.00) Dollars.

                     COUNT III- FAILURE TO TRAIN AND SUPERVISE
                            Irvin Folly V. City of Philadelphia


        34.     Paragraphs 1 through 33 are incorporated herein by reference, as though each were

fully set forth herein at length.

        35.     The plaintiff, Irvin Folly, believes and therefore avers that City of Philadelphia has

adopted and maintained for many years a recognized and accepted policy, custom, and practice of

condoning and/or the acquiescence of violating the constitutional rights of citizens, including, but

not limited to, a policy of excessive or unreasonable force, falsely arresting, falsely imprisoning

innocent people, which policy is in violation of the constitution and in violation of 42 U.S.C.

Section 1983.

        36.     The plaintiff, Irvin Folly, believes and therefore avers that the defendant, City of

Philadelphia has adopted and maintained for many years, a recognized and accepted policy,

custom and practice of systematically failing to properly train, supervise and discipline police

officers, including the individual defendants, regarding constitutional restraints on the police

power to use reasonable force, to falsely arrest and falsely imprison individuals without probable

cause and/or legal justification prosecute people which policy violates the Fourth, and Fourteenth

Amendments of the Constitution of the United States.
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        37.     The Defendants, City of Philadelphia has been deliberately indifferent to the rights

of citizens of the City of Philadelphia to be free from unreasonable force, false arrests, and false

imprisonment, which deliberate indifference violates the plaintiff's rights under the Fourth, Sixth

and Fourteenth Amendments of the Constitution of the United States.

        38.     The plaintiff, Irvin Folly, believes and therefore avers, that at the time of plaintiff's

incidents, defendant, City of Philadelphia knew or should have known of the above described

policy of the City of Philadelphia Police Department, and that they deliberately, knowingly, and/or

intentionally failed to take measures to stop or limit the policy, including, inter alia, providing

proper training, supervision, and control of the officers, agents, and/or employees of the City of

Philadelphia Police Department.

        39.     The plaintiff, Irvin Folly, believes and therefore avers, that at the time of the

incidents alleged in Plaintiff’s Complaint, defendant, City of Philadelphia and Police Chief

Sylvester Johnson, knew or should have known of the above described policy, custom and

practice of the City of Philadelphia, and that they deliberately, knowingly and intentionally failed

to take measures to stop or limit the policy, custom and practice including but not limited to, inter

alia:

        a. Failure to prevent unreasonable force, false arrest and false imprisonment upon persons

by City of Philadelphia Police Officers;

        b. Failure to have clear, concise, and appropriate police directives regarding arrests

pursuant to vehicle chases and the standard for unreasonable force and probable cause for arrest

and prosecution;

        c. Failure to properly supervise and/or control its police officers and detectives;

        d. Failure to have proper counseling, use of force re-training, sensitivity training,
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psychiatric evaluations, or supervisory briefing/discussion with members of its police department

with prior and ongoing complaints of excessive force, false arrests, false imprisonments and

malicious prosecution;

       e. Failure to conduct systematic and complete internal affairs investigations and

commanding officers' investigation resulting in appropriate and documented corrective actions at

all levels of the Philadelphia Police Department;

       f. Failure to prevent plaintiff from being injured by its officers where defendants knew or

had reason to know of the conduct of said police officers;

       g. Failure to have in existence and/or maintain proper personnel training procedures

necessary to prevent the type of conduct as aforesaid;

       h. Failing to provide adequate guidance, including police directives, as to when it was

inappropriate to arrest and prosecute persons and how to handle evidence in criminal

prosecutions;

       I. Failure to prevent the Philadelphia Police Department from implementing a policy and

practice of using sweeps and detention of young African-American males and subjecting those

young African-American males to false arrest and use of excessive force during circumstances

where there has been a response by the Philadelphia Police Department to a shooting;

       j. Otherwise acting without due regard for the rights, safety and position of the plaintiff

herein, in accordance with the laws of the State of Pennsylvania; and

       k.. Otherwise violating the ordinances of City of Philadelphia; Directives of the

Philadelphia Police Department and the Statutes of the State of Pennsylvania.

       40.      The plaintiff believes and therefore avers that the defendant, City of Philadelphia

has a custom or policy or practice of failing to properly investigate matters in which police
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officers use unreasonable force and falsely arrest and/or imprison individuals without probable

cause, which allows for and results in an encouragement to officers within the police department

to continue doing the same, and creates policies, practices, and/or procedures allowing police

officers to proceed in this manner and creates an atmosphere for the allowance of false arrests and

imprisonments by members of the City of Philadelphia Police Department without fear of

punishment.

       41.      The defendant, City of Philadelphia has been aware of the aforesaid described

policies, customs and practices for a substantial period of time and despite knowledge of the

illegal policies and practices as described above by the supervisory and policy making officers and

officials, failed to take steps to terminate said practices; have not disciplined or otherwise properly

supervised defendant police officers and detectives, who engaged in said practices; have not

effectively trained police officers with regard to the proper constitutional and statutory limits in

the exercise of their authority and instead sanctioned the policies and practices described to the

deliberate indifference of the constitutional rights of the citizens of the City of Philadelphia.

       42.      By failing to take action to stop or limit the policies and/or by remaining

deliberately indifferent to the systematic abuses which occurred in accordance with and as a direct

and proximate result of the policies, the aforementioned defendant condoned, acquiesced in,

participated in, and perpetrated the policies in violation of the plaintiff's rights under the Fourth

and Fourteenth Amendments of the Constitution of the United States.

       43.      As a direct and proximate result of the malicious, intentional and reckless actions

of the defendant, City of Philadelphia, the plaintiff, Irvin Folly, suffered injuries which are

described above.

       WHEREFORE, pursuant to 42 U.S.C. Section 1983 and Section 1988, plaintiff, Irvin
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Folly, demands compensatory damages against defendants, City of Philadelphia, in an amount in

excess of One Hundred Thousand ($100,000.00) Dollars, plus interest, costs, attorney's fees and

delay damages.

                                           COUNT IV
                                    42 U.S.C. 1983 AND 1988
                                         CONSPIRACY
                         Irvin Folly VS. Police Officers John Does #1-99


       44.      Paragraphs 1 through 43 are incorporated herein by reference, as fully as though

each were set forth herein at length.

       45.      Defendants Police Officers John Does #1-99 entered into an agreement or meeting

of the minds to have plaintiff illegally arrested and imprisoned.

       46.      As a direct and proximate result of the agreement between the aforementioned

defendants, Plaintiff’s constitutional rights under the Fourth and Fourteenth Amendments were

violated and he suffered emotional harm and substantial economic loss.

       WHEREFORE, plaintiff, Irvin Folly, demands compensatory and punitive damages

against the Defendants Police Officers John Does #1-99, for the conspiracy to violate his

constitutional rights in an amount in excess of One Hundred Thousand ($100,000.00) Dollars,

plus cost, interest, attorney's fees and delay damages.

                                           COUNT V
                                    42 U.S.C. 1983 AND 1988
                                   BYSTANDER LIABILITY
                         Irvin Folly VS. Police Officers John Does #1-99

       47.      Paragraphs 1 through 46 are incorporated herein by reference, as fully as though

each were set forth herein at length.

       48.      Defendants Police Officers John Does #1-99, were present when the Plaintiff’s
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constitutional rights were violated by using unreasonable force and falsely arresting and

imprisoning him.

         49.      Defendants Police Officers John Does #1-99, knew or had reason to know that they

did not have probable cause to arrest the Plaintiff and that the Plaintiff's constitutional rights were

being violated due to the use of unreasonable force by the Defendants, and said Defendants had

realistic opportunities to intervene and prevent the harm from occurring, but failed to do so.

         50.      Defendants Police Officers John Does #1-99, maliciously, intentionally, recklessly

and with deliberate indifference, failed to intervene and halt the unconstitutional conduct of any

and all of the above named Defendants, resulting in Plaintiff sustaining the injuries as set forth

above.

                  WHEREFORE, plaintiff, Irvin Folly, demands compensatory and punitive

damages against the Defendants Police Officers John Does #1-99, for the violation his

constitutional rights based upon the theory of Bystander Liability, in an amount in excess of One

Hundred Thousand ($100,000.00) Dollars, plus cost, interest, attorney's fees and delay damages.

                                RESPECTFULLY SUBMITTED,




Date: July 22, 2008             BY:___________________________
                                 Benson I. Goldberger, Esquire
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